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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


     In Re: New York City Policing
     During Summer 2020 Demonstrations                  20-cv-8924 (CM)(GWG)


     This filing is related to:

     Payne v. De Blasio, No. 20-cv-8924
     People v. City of New York,
      No. 21-cv-322
     Sierra v. City of New York,
      No. 20-cv-10291
     Wood v. De Blasio, No. 20-cv-10541
     Yates v. New York City,
      No. 21-cv-1904




     PLAINTIFFS’ CONSOLIDATED MEMORANDUM OF LAW IN OPPOSITION TO
        DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINTS 1




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    The Plaintiffs in Sow et al. v. City of New York, No. 21-cv-533, are filing a separate opposition.
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                                 PRELIMINARY STATEMENT

        In these consolidated cases, the State of New York and dozens of individual plaintiffs and

putative class representatives seek relief from the NYPD’s unconstitutional policing practices at

racial-justice protests across the City beginning in May 2020. For decades—from protests at the

2004 Republican National Convention (RNC), to Occupy Wall Street, to the recent protests

following the killing of George Floyd—the NYPD has used excessive force against peaceful

protesters in ways that caused serious injuries, and has arrested protesters, journalists, legal

observers, medics, and other essential workers without probable cause and in retaliation for

disfavored speech. This unconstitutional policing has chilled protected First Amendment activity.

And the threat continues, with the most recent documented use of the NYPD’s unlawful tactics at

Martin Luther King, Jr. Day protests well after the original complaints in this case were filed.

        Defendants now move to dismiss on a number of grounds, all of which are meritless. A

fundamental error pervades defendants’ motion: they rely on asserted “facts” that are wholly

inconsistent with the well-pleaded allegations in plaintiffs’ complaints. While defendants will have

an opportunity to develop their version of events in discovery and at trial, on a motion to dismiss

the Court must accept as true all the factual allegations in the complaints, and construe all

reasonable inferences in the light most favorable to plaintiffs.

        Contrary to defendants’ contentions, the individual plaintiffs have standing to seek

injunctive and declaratory relief because their complaints address unconstitutional policing

practices that remain a serious threat to them as they continue protesting. And the State has

standing to sue as parens patriae because the unconstitutional practices at protests undisputedly are

affecting thousands of state citizens; the State has a quasi-sovereign interest in protecting the health

and welfare of those citizens; and the State is best positioned to protect the broad interests of all



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those citizens at once. The complaints are far from moot when the same unconstitutional conduct

has continued for decades—despite prior class-action lawsuits and even after the complaints in

this case were filed—and defendants have not come close to meeting their burden to prove with

absolute clarity that the unconstitutional conduct has been completely and irrevocably eradicated.

       The complaints also state plausible claims for relief for municipal liability under Monell v.

Department of Social Services, 436 U.S. 658 (1978), and against the individual policymaking

defendants. The complaints’ detailed allegations of defendants’ policy and custom of excessive

force and unlawful arrests at protests, and their failure to train to prevent such unlawful conduct,

states a municipal-liability claim. The complaints also allege that the policymaking defendants

personally directed and oversaw unconstitutional conduct, making them personally liable and

confirming municipal liability. At this early stage, the policymaking defendants have not shown

any entitlement to qualified immunity for their unlawful conduct, and qualified immunity is in any

event no defense to plaintiffs’ injunctive, declaratory, and municipal-liability claims.

                                   STATEMENT OF FACTS

       Plaintiffs’ complaints describe how NYPD police officers and their supervisors have a

widespread practice of using unjustifiable fist and baton strikes, pepper spray attacks, and other

acts of physical violence at dozens of racial-justice protests that have occurred throughout New

York City since May 2020. Payne Am. Compl. ¶¶ 2, 15, 107-211; People Am. Compl. ¶¶ 128-

430; Sierra Am. Compl. ¶¶ 44-124; Wood Am. Compl. ¶¶ 142-46; Yates Compl. ¶ 19. These

attacks left protesters bloodied, bruised, and emotionally traumatized. E.g., Payne ¶ 2; People ¶ 3;

Sierra ¶¶ 66-69. Officers also targeted for force and arrest individuals who were merely

documenting police activity and providing essential services to protesters, including journalists

toting professional cameras and press credentials, legal observers donning neon green identifying



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hats, and medics in hospital scrubs. People ¶¶ 275, 282, 287, 289-90, 299, 307, 404, 408-10, 424-

27; Payne ¶¶ 54, 61-62, 97, 130, 161-69; Sierra ¶ 71. The officers placed arrested individuals in

excessively tight handcuffs and held them for prolonged periods, in overcrowded, often unsanitary

conditions in the midst of the COVID-19 pandemic, Payne ¶¶ 2, 216; see id. ¶¶ 126, 133, 147,

187, 198, 205; People ¶¶ 244, 249-50, 404; Sierra ¶¶ 75-82, 94-97, 103, 110-114, 120-122, even

though charges were in the vast majority of cases either never brought, or promptly dismissed by

the district attorney, People ¶¶ 255, 310, 381; Payne ¶ 136, 158, 173, 192, 207; Sierra ¶¶ 87, 99,

107, 116, Wood ¶ 168. NYPD officers inflicted many of these injuries while using a tactic adopted

by NYPD leadership called “kettling,” Payne ¶ 2; Wood ¶ 44; Sierra ¶ 2, 127, i.e., physically

corralling and detaining the protesters without first providing a warning or opportunity for them

to leave and then charging at, assaulting, and arresting them, e.g., People ¶¶ 4, 328; Payne ¶ 215;

Wood ¶ 44; Sierra ¶¶ 2, 7 & n.1, 44, 57, 62-63, 73-75. Between May 29 and June 4, 2020 alone,

the NYPD kettled protesters no fewer than seven times. Sierra ¶ 144; see People ¶¶ 330–87.

       Defendants Mayor Bill de Blasio, Police Commissioner Dermot Shea, and Chief of

Department Terence Monahan, oversaw and closely monitored the NYPD’s protest response, and

praised the NYPD’s brutal suppression of the protests. People ¶¶ 98, 102; Payne ¶¶ 4, 56, 91;

Sierra ¶¶ 3, 9, 128, 132-33; Wood ¶¶ 81-92, 96. 2 At press conferences, Mayor de Blasio repeatedly

referenced his daily briefings with police leadership, noting that he “constantly was in touch” with

Shea, Monahan, and other NYPD leadership, and expressed approval of specific instances of force

used against protesters. People ¶ 99; see Payne ¶¶ 56; Sierra ¶¶ 131, 133; Wood ¶¶ 95, 183-85. At

a June 7, 2020 press conference, Mayor de Blasio acknowledged that he had “approved the broad




2
  Only these individual defendants and the City of New York moved to dismiss, although some of
the complaints name additional individual defendants. See Mot. to Dismiss (ECF 105).
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strategies and sometimes very specific choices” employed by the NYPD at the protests. People

¶ 101; Payne ¶ 73; Sierra ¶ 3; Wood ¶ 94. Commissioner Shea also sanctioned the NYPD’s violent

response to the protests, including by commending officers who kettled, beat, and unlawfully

arrested protesters and essential workers on June 4, 2020 in Mott Haven, and praising the

“operation” as “nearly flawless[].” People ¶¶ 8, 387; Payne ¶ 69; Sierra ¶ 132. Chief Monahan

regularly directed and supervised officers on the ground at the protests. People ¶¶ 98-99, 200, 292.

He admitted to the City’s Department of Investigation (DOI) that he personally approved the

indiscriminate mass use of pepper spray against protesters at the Barclays Center on May 29, 2020,

and was captured on video at Mott Haven on June 4 supervising the kettling and arrest of peaceful

protesters, medics, and legal observers. People ¶¶ 200, 293-95, 370-71; Sierra ¶¶ 9, 46, 70.

       The NYPD’s practice of using excessive force and unlawfully arresting protesters began

well before the racial justice protests of the past year. Following a 2003 anti-war protest and the

2004 RNC protests, NGOs documented nearly 400 accounts of excessive force by NYPD officers,

including unwarranted use of batons and horses to disperse crowds as well as indiscriminate pepper

spraying, and use of kettling and mass arrests of peaceful protesters and bystanders. People ¶¶ 25-

26. Following the Occupy Wall Street demonstrations in 2011, NGOs likewise documented

hundreds of complaints of excessive force against protesters, bystanders, lawyers, legal observers,

and journalists. Id. ¶ 31. Numerous lawsuits arose from such protests, which frequently resulted in




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findings of liability or potential liability against the NYPD, 3 or settlements. 4 In one case, then-

district judge Richard Sullivan granted summary judgment against then-Deputy Chief Monahan

for false arrests at the RNC protests based on the same unlawful kettling tactic that Monahan

personally directed again in Mott Haven last year, Payne ¶¶ 66-67; see People ¶¶ 27-28; Sierra ¶¶

46, 127, and a jury found Monahan liable for punitive damages. 5

         NYPD leadership has failed to train NYPD officers on how to constitutionally police

protests. People ¶ 107. Chief Monahan has admitted that “[a] lot of cops had not received disorder

trainings since they first came on the job.” People ¶ 80. Mayor de Blasio likewise has

acknowledged that the NYPD “lacked standardized, agency-wide, in-service training related to

policing protests” and “deployed a large number of front-line supervisors and officers … without

adequate training.” People ¶¶ 40, 75, 110. Although the NYPD implemented new disorder training

between July and October 2020, that training served only to reinforce kettling practices; and as the


3
  See, e.g., People ¶ 32; Payne ¶ 219; Sierra ¶ 127 nn. 5-6; Verdict Sheet, Gersbacher v. City of
N.Y., No. 14-cv-7600 (S.D.N.Y. Jan. 11, 2018) (ECF 201) (verdict against NYPD supervisor on
protester’s excessive-force claim); Dinler v. City of N.Y., 2012 WL 4513352, at *8-11, *27
(S.D.N.Y. Sept. 30, 2012) (finding kettling of hundreds of protesters unconstitutional and granting
plaintiffs’ motion for summary judgment); Brown v. City of N.Y., 798 F.3d 94, 97, 100-03 (2d Cir.
2015) (officers’ takedown and pepper spraying of protester could be excessive force); Douglas v.
City of N.Y., 730 F. App’x 12, 14-17 (2d Cir. 2018) (reversing summary judgment to defendants
on legal observer’s excessive force, false arrest, and other claims); Case v. City of N.Y., 408 F.
Supp. 3d 313, 320-22, 327-30 (S.D.N.Y. 2019) (denying summary judgment to defendants;
awaiting trial on protester’s false-arrest and failure-to-train claims); Packard v. City of N.Y., 2020
WL 1467127 (S.D.N.Y. Mar. 25, 2020) (denying summary judgment to defendants; awaiting trial).
4
  See, e.g., MacNamara v. City of N.Y., No. 04-cv-9216 (S.D.N.Y.) (ECF 536) ($6.6 million class
settlement); Kunstler v. City of N.Y., No. 04-cv-01145 (S.D.N.Y.) (ECF 173) ($2 million
settlement); Peat v. City of N.Y., No. 12-cv-8230 (S.D.N.Y.) (ECF 46, 47) ($333,000); Gerskovich
v. Iocco, No. 15-cv-7280 (S.D.N.Y.) (ECF 194) ($256,000); Occupy Wall Street v. City of N.Y.,
No. 12-cv-4129 (S.D.N.Y.) (ECF 33) ($233,349); Dierken v. City of N.Y., No. 12-cv-7462
(S.D.N.Y.) (ECF Nos. 45-1, 56-64) ($145,009 settlement, plus attorneys’ fees); Douglas v. City of
N.Y., No. 14-cv-8124 (S.D.N.Y.) (ECF 104) ($145,000); Marlin v. City of N.Y., No. 15-cv-2235
(S.D.N.Y.) (ECF 78) ($125,000).
5
    Abdell v. City of N.Y., No. 05-cv-8453 (S.D.N.Y.) (ECF 432).

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 City’s own DOI found, failed to include training on minimizing the use of force and facilitating

 First Amendment rights. People ¶¶ 104-07. The necessary training and policy changes to prevent

 unlawful policing at protests are not yet in place. Even well after defendants acknowledged failures

 of training and policy, and even after most of the original complaints were filed in this case,

 defendants have continued the same unlawful policing practices. For instance, on Martin Luther

 King, Jr. Day 2021, NYPD officers confronted a group of peaceful protesters at City Hall Park and

 ordered them onto the sidewalk; when the protesters complied, the officers kettled them, beat them,

 and arrested them. People ¶¶ 112-13.

                                            ARGUMENT

I.        Plaintiffs Have Standing to Seek Injunctive and Declaratory Relief and Those Claims
          Are Not Moot.

              A. The Individual Plaintiffs Have Standing to Seek Injunctive and Declaratory
                 Relief Because They Plausibly Allege Likelihood of Harm at Future Protests.

           An individual plaintiff may demonstrate standing to seek injunctive and declaratory relief

 by plausibly alleging the existence of an official policy or custom, and a likelihood of future harm

 from that policy or custom. An v. City of N.Y., 2017 WL 2376576, at *2-3 (S.D.N.Y. 2017); accord

 Mem. of Law in Support of Defs.’ Mot. to Dismiss (Mem.) 7 (ECF 106). 6 Courts “have applied

 Monell and its progeny when evaluating whether a plaintiff has alleged an official policy or its

 equivalent for purposes of conferring standing.” An, 2017 WL 2376576, at *3. As set forth infra

 at 13-21, plaintiffs have adequately alleged a municipal policy and custom of the NYPD using

 excessive force and unlawful arrests in policing protests. Plaintiffs also have plausibly alleged a

 likelihood of facing excessive force and unlawful arrest at future protests as a result of defendants’

 policy.



 6
     Defendants do not challenge any plaintiffs’ standing to pursue their claims for damages.
                                                   6
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       The individual plaintiffs intend to continue protesting for racial justice and policing

reforms. See, e.g., Payne ¶¶ 124, 137, 201. Plaintiffs have been inspired to protest by all-too-

regular occurrences of police violence; have attended multiple demonstrations for racial justice

and against police violence and intend to continue doing so despite being brutalized by the police;

and have followed through on that intent by continuing to attend protests since the filing of the

complaints. See, e.g., Payne ¶¶ 124, 137, 142, 193, 201; People ¶ 44. Plaintiff Vidal Guzman, for

example, is an activist focused on reforming the criminal justice system who has planned,

organized, and attended over one hundred protests across the City, including almost every Black

Lives Matter protest from May 2020 until October 2020, and intends to keep protesting. Payne

¶ 124. Such allegations are sufficient to confer standing to seek injunctive and declaratory relief.

See, e.g., An, 2017 WL 2376576, at *5 (likelihood of future harm where plaintiff alleges that he

continues to film public police activity in a way that will bring him into contact with police);

Stauber v. City of N.Y., 2004 WL 1593870, at *18-19 (S.D.N.Y. 2004) (“[Plaintiff] has declared

her intention to attend future demonstrations, including those at the Convention. An encounter

with the NYPD, and with NYPD policies, is therefore much more likely than … speculative.”).

       There is no merit to defendants’ assertions, Mem. 6, 8, that plaintiffs need not fear police

misconduct at future protests because policing reforms have been proposed and the pandemic has

receded. First, as discussed in further detail infra at 11-13, by defendants’ own admission, the

“reforms” they cite are far from complete, and are thus plainly insufficient to render plaintiffs’

concerns moot at this stage. Second, that the pandemic may be receding has no bearing on whether

police misconduct at protests has receded—and plaintiffs plausibly allege that it has not. Even

after the filing of the complaints in this case—and after the policing “reforms” were announced—

there have been additional instances of the NYPD employing excessive force, kettling, and



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unlawful mass arrests, including at a November 4, 2020 protest, People ¶¶ 388-93, and at a January

18, 2021 protest, People ¶¶ 394-98, where plaintiff Payne was kettled, punched, and slammed to

the ground and then falsely arrested for the second time as a protester, Payne ¶¶ 138-39. The

repeated use of such practices provides a plausible basis to believe that they will be used again,

and thus confers standing for injunctive and declaratory relief. See, e.g., Ligon v. City of N.Y., 925

F. Supp. 2d 478, 522 (S.D.N.Y. 2013) (“possibility of recurring injury ceases to be speculative

when actual repeated incidents are documented” (quotation marks omitted)); Aguilar v. ICE, 811

F. Supp. 2d 803, 827-28 (S.D.N.Y. 2011) (standing for injunctive relief where plaintiffs alleged

that agents repeatedly and erroneously targeted homes of Latinx individuals); McRae v. City of

Hudson, 2015 WL 275867, at *5 (N.D.N.Y. 2015) (standing for injunctive relief where plaintiffs

alleged “at least five episodes of harassment by [police]” over several months).

       Defendants’ reliance on cases such as Marcavage v. City of N.Y., 689 F.3d 98 (2d Cir.

2012), and Medina v. City of N.Y., 2020 WL 7028688 (S.D.N.Y. Nov. 30, 2020), is misplaced.

Marcavage involved a challenge to NYPD policies implemented specifically to deal with the 2004

RNC, an event that had no prospect of recurring. See 689 F.3d at 102-03. By contrast, this case

challenges policies that continue to apply to ongoing protests. Medina involved a use of force

escalating out of a single ad hoc police encounter, 2020 WL 7028688, at *1-2, and the court found

that Medina was unlikely to face similar circumstances again, id. at *4-6. By contrast, plaintiffs

here intend to continue protesting and thus face the same threat of unlawful force and arrest.

           B. The State Has Parens Patriae Standing to Sue in the Interest of Its Citizens’
              Health and Well-Being.

       The State also satisfies all the requirements for parens patriae standing to sue on behalf of

its citizens. There are three requirements for parens patriae standing: (a) injury to a sufficient

number of state citizens; (b) a quasi-sovereign interest; and (c) a barrier to individual plaintiffs

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obtaining the complete relief the State could obtain. See New York v. Griepp, 991 F.3d 81, 131 (2d

Cir. 2021); accord Mem. 10. Defendants concede the first requirement—that defendants’ injuries

to numerous protesters constitute injury to a sufficient number of state citizens. Mem. 10. The

State has satisfied the other two requirements as well.

       First, “[c]ourts routinely acknowledge that a State has a quasi-sovereign interest in the

health and well-being—both physical and economic—of its residents.” Griepp, 991 F.3d at 132

(quotation marks omitted). This Court and others have specifically acknowledged that the State

has a quasi-sovereign interest in “ensur[ing] that police agencies operate within the bounds of the

law and do not violate the constitutional rights of citizens they are sworn to protect.” New York v.

Town of Wallkill, 2001 U.S. Dist. LEXIS 13364, at *9 (S.D.N.Y. March 16, 2001) (McMahon, J.);

accord Pennsylvania v. Porter, 659 F.2d 306, 315 (3d Cir. 1981) (en banc). Here, the State sues

to vindicate these same quasi-sovereign interests. See, e.g., People ¶¶ 1-11, 18. Defendants

recognize the State’s quasi-sovereign interest in preventing police misconduct, Mem. 10, but err

in claiming that they have sufficiently responded to the policing concerns raised in the State’s

complaint: for instance, by having the City’s DOI and Corporation Counsel review NYPD’s

response to the protests at issue. The State’s complaint extensively alleges, see, e.g., People ¶¶ 7-

8, 37-38, 41, 73-114—and the very reviews touted by defendants confirm, see, e.g., id. ¶¶ 9, 39-

40, 75-79, 94-96, 109—that defendants have not sufficiently responded to the State’s concerns. In

any event, whether the NYPD has taken action in response to the protests at issue has no bearing

on whether the State has its own interest in ensuring that police operate lawfully and that state

citizens are provided complete relief. 7



7
 Contrary to Defendants’ contention, recent steps by state lawmakers to address police misconduct
underscore—rather than undermine—the State’s interest in this litigation. The new state legislation


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       Second, the State is best positioned to obtain complete relief against future violations. The

Second Circuit has confirmed the State’s parens patriae standing, “when it is difficult and costly

to litigate claims, and when the interests of individuals are not necessarily coextensive with those

of the public.” See Griepp, 991 F.3d at 132 (quotation marks omitted). “Both characteristics are

presented here.” Id. There is no dispute that the broad claims for injunctive and declaratory relief

in the State’s complaint, related to conduct at numerous protests involving many thousands of

protesters, will be demanding and costly to litigate. Accord, e.g., Defs.’ Feb. 15, 2021 Ltr. 3

(ECF 30) (discovery alone “will be a tremendous undertaking”). Moreover, the State’s interests

are broader than those of any affected individuals. Of the plaintiffs, the State seeks the most

comprehensive injunctive relief, covering not only protesters, but also journalists, legal observers,

medics, and other essential service providers. People ¶¶ 439-40, 449-50, 455, 459-60 & p. 82. And

because declaratory and injunctive relief is the only type of relief the State seeks, the State does

not have any incentive to compromise such relief “in exchange for increased money damages.”

People v. Peter & John’s Pump House, Inc., 914 F. Supp. 809, 813 (N.D.N.Y. 1996). In addition,

regardless of whether any given individual is likely to face injury from unconstitutional policing

at a future protest, there is no question that New Yorkers will continue to protest and face

unconstitutional policing at protests again. See infra at 11-13. Thus, this Court and others




defendants cite (N.Y. Executive Law § 75) expressly empowers the Attorney General’s office to
pursue police misconduct through a broad range of means, including “civil or criminal” suits.
Defendants also misplace their reliance on two Seventh Circuit cases for the proposition that
federal courts should “be cautious” in “wading into” litigation by a state Attorney General against
a municipality. Mem. 11. Neither of those cases involved a parens patriae suit. See Trustees of Ind.
Univ. v. Curry, 918 F.3d 537 (7th Cir. 2019); Illinois v. City of Chicago, 137 F.3d 474 (7th Cir.
1998). The authority of state Attorneys General to sue municipalities and their officials in a parens
patriae capacity, as in this case, is well settled. See, e.g., Porter, 659 F.2d 306; Greens at Chester
LLC v. Town of Chester, 2020 WL 2306421 (S.D.N.Y. May 8, 2020); New York v. Utica City Sch.
Dist., 177 F. Supp. 3d 739 (N.D.N.Y. 2016); Town of Wallkill, 2001 U.S. Dist. LEXIS 13364.
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addressing police misconduct claims have repeatedly held that States possess parens patriae

standing. Town of Wallkill, 2001 U.S. Dist. LEXIS 13364, at *21; Porter, 659 F.2d at 315-16.

           C. Plaintiffs’ Claims Are Not Moot Because Defendants Have Not Come Close
              to Showing That Unlawful Conduct at Protests “Absolutely” Will Not Recur.

      There is no merit to defendants’ assertion that plaintiffs’ claims for injunctive and

declaratory relief are moot. As outlined at length in the complaints, “[f]or at least the last two

decades, the NYPD has engaged in the same unlawful excessive force and false arrest practices

while policing large-scale protests,” and defendants “have further entrenched those practices by

ratifying them through inaction and praise.” E.g., People ¶¶ 7-8. Moreover, recent conduct—

including at post-election and Martin Luther King, Jr. Day protests well after the first complaints

were filed in this case, e.g., id. ¶¶ 111-13, 388-98; Payne ¶¶ 5, 8, 78-81, 138-41—confirms that

defendants have continued, and will continue, engaging in unconstitutional conduct unless their

conduct is abated through this litigation, e.g., People ¶¶ 38-41; Payne ¶¶ 76, 82-83, 220.

      Although defendants contend that this case is moot because of purported recent voluntary

“reforms,” Mem. 12, “[i]t is well settled that a defendant’s voluntary cessation of a challenged

practice does not deprive a federal court of its power to determine the legality of the practice,”

Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quotation

marks omitted). “If it did, the courts would be compelled to leave the defendant free to return to

his old ways.” Id. (quotation marks omitted). To prove mootness, defendants bear the “formidable

burden” to demonstrate that it is “absolutely clear” “that (1) there is no reasonable expectation that

the alleged violation will recur and (2) interim relief or events have completely and irrevocably

eradicated the effects of the alleged violation.” Seidemann v. Bowen, 499 F.3d 119, 128 (2d Cir.

2007) (quotation marks omitted); see Mem. 12.




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      By their own admission, defendants have not completed the “reforms” on which they rely,

much less met their burden to prove with “absolute” clarity that these asserted reforms have

“completely and irrevocably eradicated” the problems addressed in the complaints. See

Seidemann, 499 F.3d at 128. As evidence of their purported reforms, defendants cite a handful of

documents from outside the complaint. Mem. 13. These include reports from DOI and Corporation

Counsel referenced in the complaints that harshly criticize defendants for the very failings that

plaintiffs seek to remedy, Def. Exs. D-E (ECF 107-4, -5), as well as executive orders that called

for such reports, Def. Exs. G-H (ECF 107-7, -8). The remainder of the documents are, by

defendants’ own description, “draft” “plans”—not policies yet in effect, Def. Exs. B-C (ECF 107-

2, -3); see Mem. 13—and a protest response “recommendation tracker” showing that most reform

recommendations remain “in progress,” Def. Ex. A (ECF 107-1). These documents nowhere claim

that defendants have completed the proposed reforms—much less prove that they have totally

eliminated the deep-seated problems alleged in the complaints. In any event, documents that are

not referenced in the complaints could form no basis for dismissal before discovery. See, e.g.,

Kamen v. American Tel. & Tel. Co., 791 F.2d 1006, 1011 (2d Cir. 1986).

      Defendants also are wrong to assert, Mem. 12-13, that plaintiffs have acknowledged any

claim in this case is moot. The statements of Mayor de Blasio saying that he and Commissioner

Shea agree with DOI’s finding of deficiencies in the NYPD’s protest-related training and that

“[w]e have to train our police force differently,” People ¶ 110, confirm that the necessary training

is not yet in place. Similarly, plaintiffs’ allegations that the NYPD recently instituted a new

disorder-control training explain that: this training reinforces the unlawful use of kettling, People

¶ 106; that, as DOI agreed, the training made no reference to avoiding excessive force or

facilitating First Amendment rights, id. ¶ 107; and that NYPD’s own chief of patrol confirmed that



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the new training was “not enough,” id. ¶ 85. These statements in no way suggest the urgent ongoing

concerns addressed in the complaints are moot.

II.   Plaintiffs Have Stated Cognizable Claims for Relief.

           A. Plaintiffs Have Stated Municipal-Liability Claims Based on Defendants’
              Persistent Custom and Practice, Failure to Train, and Ratified Policy.

       Plaintiffs have sufficiently pleaded that the City is subject to municipal liability for brutal

protest policing. A plaintiff may show a municipal policy or custom subject to liability through,

among other things, (1) “a practice so persistent and widespread, or permanent and well settled, as

to constitute a custom or usage with the force of law and to imply the constructive knowledge of

policy making officials,” Felix v. City of N.Y., 344 F. Supp. 3d 644, 653 (S.D.N.Y. 2018) (quotation

marks omitted); (2) “a failure to train or supervise subordinates amounting to deliberate

indifference to the rights of those with whom the municipality’s employees come into contact,” id.

(quotation marks omitted); or (3) “actions taken by government officials responsible for

establishing the municipal policies that caused the particular deprivation in question,” Kucharczyk

v. Westchester Cnty., 95 F. Supp. 3d 529, 538 (S.D.N.Y. 2015); accord Mem. 13-14. Plaintiffs

have pleaded ample facts supporting each of these—any one of which supports a Monell claim.

                      Plaintiffs Plausibly Plead a Widespread Custom and Practice of Excessive
                      Force, False Arrests, and Infringement of Plaintiffs’ First Amendment
                      Rights at Large-Scale Protests.

       Plaintiffs have more than sufficiently alleged a persistent, settled municipal custom and

practice of which policymakers had constructive knowledge sufficient for Monell liability—

including by alleging hundreds of individual incidents of unconstitutional policing at dozens of

mass protests unfolding over many months; hundreds of Civilian Complaint Review Board

(CCRB) complaints about the NYPD’s protest response; dozens of reports indicating real-time

municipal awareness of and involvement in that response; the personal presence of high-level

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municipal policymakers at specific incidents; and decades of complaints and lawsuits alleging

similar patterns of misconduct at large-scale protests.

       The misconduct alleged by plaintiffs cannot seriously be characterized as “isolated acts.”

Mem. 16. Plaintiffs’ allegations include at least fifty specific instances, at numerous protests,

during which officers violated constitutional protections by punching, kicking, and striking

protesters with blunt instruments without provocation, People ¶¶ 122-26; Payne ¶¶ 45, 50, 53, 55,

59-63, 138-41; Sierra ¶¶ 66, 120; numerous incidents of indiscriminate use of pepper spray against

protesters, Payne ¶¶ 45, 47, 50, 59, 75, 119-22, 210; People ¶¶ 171-210; Sierra ¶¶ 67, 92, 102,

110-12, 119-20; and several incidents of kettling tactics to effectuate mass arrests without probable

cause, People ¶¶ 64, 67-68, 70-71, 92-93, 106, 112-13; Payne ¶¶ 53, 55, 59-60, 62, 65-67, 78, 85,

125, 139, 144, 165-70; Sierra ¶¶ 55-73; Wood ¶¶ 67-71. Reports released by the City DOI and

Corporation Counsel and by Human Rights Watch describe the same or similar additional

incidents. Payne ¶¶ 95-106; People ¶¶ 31, 73-97, 106-07, 276-97; Sierra ¶ 9. The CCRB received

633 complaints related to protest policing in the span of one week, a fact known to the municipal

defendants at the time, and received approximately 1,646 protest-related complaints for incidents

that occurred between May 28 and June 20, 2020 alone. Payne ¶ 92. Regardless of the ultimate

outcomes of those complaints, the sheer volume in such a short period put the City on notice of a

problem. Contrary to defendants’ contention, Mem. 16-17, the fact that NYPD officers employed

multiple forms of excessive force in no way undermines plaintiffs’ allegations of a consistent

custom and practice of using excessive force against demonstrators. 8



8
  All of these factual allegations also support plaintiffs’ First Amendment claims because the
excessive force and mass arrests directly interfered in protesters’, legal observers’, and journalists’
exercise of First Amendment rights. Although defendants claim three recent instances of NYPD’s
interference with journalists described in the People complaint were “isolated incidents,” Mem.


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        Mayor de Blasio’s own staff were present at a number of these protests, and it can

reasonably be inferred from that fact, as well as the press coverage of that fact, that they notified

de Blasio of the police misconduct they personally observed. Payne ¶¶ 69, 78; Sierra ¶ 133. De

Blasio and Commissioner Shea also gave frequent press conferences throughout the spring,

summer, and fall where they admitted their knowledge of what was happening during the protests.

Payne ¶¶ 46, 48-49, 56-57, 69-70, 72-73; People ¶¶ 48-49, 83-84, 98-103, 110-11, 114; Sierra

¶¶ 128-34. Indeed, in their motion, Mem. 17-18, defendants admit this notice. In addition to this

real-time notice of the pattern that unfolded during the protests, the complaints meticulously

document defendants’ awareness of prior litigation and CCRB complaints raising similar claims

in the years preceding the 2020 protests, arising out of numerous large-scale demonstrations such

as anti-war protests in 2003, protests during the RNC in 2004, and Occupy Wall Street in 2011.

People ¶¶ 24-39; Payne ¶¶ 66, 83, 94.

        When faced with evidence of this decades-long pattern of misconduct, the City failed to

take sufficient remedial action and instead tacitly, and sometimes overtly, acquiesced in this

conduct. For instance, as discussed further infra at 16-20, the City failed to train officers to prepare

them for the protests. The City also failed to discipline officers involved in prior misconduct at

protests, People ¶¶ 27-30, and continued to rely on “Strategic Response Group” (SRG)

counterterrorism tactics to police peaceful protests despite recommendations to cease, People




18, defendants ignore the numerous other instances of NYPD’s interference with press and legal
observers alleged in that and the other complaints, see, e.g., Payne ¶¶ 53-54, 62, 65, 125-30, 202-
08; Sierra ¶ 71; People ¶¶ 257, 284-97. And these recent examples are consistent with NYPD’s
history of repeatedly interfering with journalists and legal observers in earlier protests also
described in the complaints. See, e.g., People ¶¶ 31-32.
                                                  15
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¶¶ 85-97; Payne ¶¶ 76-80. 9 Moreover, as discussed further infra at 20-21, despite being repeatedly

pressed by media and advocates to condemn police violence, city policymakers repeatedly

endorsed and validated the actions of the police. Payne ¶¶ 46, 48-50, 56-57, 69-70, 73, 79, 85;

Sierra ¶¶ 128, 131-32; Wood ¶¶ 97-106, 170-86; People ¶ 8, 387.

       Although defendants attempt to characterize isolated statements from NYPD leaders as

official denunciation of the widespread pattern of violence and mass arrest, Mem. 17-18, even

without the benefit of drawing all inferences in favor of plaintiffs, such a characterization cannot

stand. The direct knowledge of high-level city officials followed by their failure to intervene to

prevent the months-long unfolding pattern of unconstitutional policing of these protests “compel[s]

the conclusion that it has acquiesced in or tacitly authorized its subordinates’ unlawful actions.”

Okin v. Village of Cornwall-on-Hudson Police Dep’t, 577 F.3d 415, 439 (2d Cir. 2009) (quotation

marks omitted); see also Gentile v. County of Suffolk, 926 F.2d 142, 151, 153 (2d Cir. 1991) (report

and evidence that high-ranking officials “ratified the misconduct of individual police officers”

were sufficient to both “establish the existence of a municipal policy or practice” and support

allegations that misconduct was “consistently ignore[d]” (quotation marks omitted)).

                       Plaintiffs Plausibly Plead a Failure to Train and Supervise Amounting to
                      Deliberate Indifference.

       The City is also liable under Monell because its failure to train and supervise its officers

amounts to deliberate indifference to plaintiffs’ constitutional rights. To proceed on a deliberate-

indifference theory of municipal liability, the plaintiff first must state a claim that the need for




9
 Contrary to defendants’ suggestion, Mem. 15, plaintiffs do not allege that the “mere existence of
SRG” is unconstitutional. Rather, plaintiffs allege that the repeated use of a specially trained
counterterrorism force at overwhelmingly peaceful protests is wholly improper and contributes to
NYPD’s unconstitutional custom and practice of excessive force, unlawful arrests, and violation
of First Amendment rights at such protests. See, e.g., People ¶¶ 85-96.
                                                16
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better training or supervision to protect against the constitutional violations alleged in the

complaints “was obvious.” Vann v. City of N.Y., 72 F.3d 1040, 1049 (2d Cir. 1995); see Jenkins v.

City of N.Y., 478 F.3d 76, 94 (2d Cir. 2007). The plaintiff also must plausibly allege that “the

situation either presents the employee with a difficult choice of the sort that training or supervision

will make less difficult or that there is a history of employees mishandling the situation,” and “that

the wrong choice by the city employee will frequently cause the deprivation of a citizen’s

constitutional rights,” Jenkins, 478 F.3d at 94 (quotation marks omitted). Plaintiffs’ pleadings

satisfy each of these prongs.

       Plaintiffs have stated a claim that the need for training and supervision in policing protests

was obvious. “An obvious need may be demonstrated through proof of repeated complaints of

civil rights violations” and “may be inferred if the complaints are followed by no meaningful

attempt on the part of the municipality to investigate or to forestall further incidents.” Vann, 72

F.3d at 1049. As explained, supra at 13-15, plaintiffs allege that the City has long been aware of

repeated complaints of unlawful policing at protests—including complaints of excessive force,

unlawful arrests, and First Amendment restrictions—through hundreds of CCRB complaints,

lawsuits, and reports. Defendants and the City’s DOI have further acknowledged that the NYPD

implemented no training regarding appropriate policing at large-scale protests before this lawsuit,

notwithstanding the long history of complaints. See, e.g., People ¶¶ 39, 74-82, 94-96; Payne ¶ 82.

This same history of unaddressed misconduct also satisfies the second prong for a failure-to-train-

based Monell claim, by demonstrating “a history of employees mishandling” policing of large

protests. See Jenkins, 478 F.3d at 94. And there is no serious dispute “that the wrong choice” by

future officers policing protests “will frequently cause the deprivation of a citizen’s constitutional

rights”—because that has been the case again and again in the past. See id. As defendants do not



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dispute, the complaints specifically allege numerous links between insufficient training and past

and potential future violations of citizens’ constitutional rights. See, e.g., People ¶¶ 33, 39, 73-84,

94-95; Payne ¶¶ 82-85.

       As this Court and others have repeatedly concluded, allegations of a history of complaints

and reports such as those in the complaints here easily suffice to state a Monell claim at the motion-

to-dismiss stage. See, e.g., Medina, 2020 WL 7028688, at *8 (denying motion to dismiss failure-

to-train-or-supervise claim where plaintiff cited to “CCRB reports and numerous lawsuits, along

with the news reports detail[ing] a pattern of NYPD officers improperly escalating encounters

through the unlawful use of excessive force”); Marlin v. City of N.Y., 2016 WL 4939371, at *19-

21 (S.D.N.Y Sept. 7, 2016) (McMahon, J.) (same where plaintiff cited DOI and other reports of

excessive force at prior protests and substantiated CCRB complaints); White v. City of N.Y., 2015

WL 4601121, at *3, *7-8 (S.D.N.Y. July 31, 2015) (same where plaintiff cited to prior U.S.

Department of Justice letter and complaints addressing similar misconduct); Bertuglia v. City of

N.Y., 839 F. Supp. 2d 703, 738 (S.D.N.Y. 2012) (same where plaintiff cited at least “fifteen cases

where City prosecutors allegedly committed [similar] misconduct”). Plaintiffs’ exhaustive

allegations here not only of hundreds of lawsuits, complaints, and reports—but also of liability

and potential liability findings and numerous substantial settlements in the lawsuits, see supra at

4-5 & notes 3-5—exceed any of the records sufficient to sustain Monell claims in these other cases.

       Although defendants attempt to downplay the significance of the numerous past lawsuits,

defendants acknowledge that they paid settlements in many of them, Mem. 3 & n.4, and ignore

many of the findings of liability and potential liability in the lawsuits that were not settled, see

supra notes 3, 5. In any event, defendants are wrong to assert, Mem. 20-21, that only a final judicial

finding of liability for excessive force can support notice for purposes of municipal liability.



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“[E]vidence that a number of claims of police brutality had been made by other persons against

the City [is] relevant” in and of itself, because “[w]hether or not the claims had validity, the very

assertion of a number of such claims put the City on notice that there was a possibility that its

police officers had used excessive force.” Fiacco v. City of Rensselaer, 783 F.2d 319, 328 (2d Cir.

1986). Particularly “[i]n the context of Rule 12,” “citations to pending lawsuits and settlement

agreements” “permit a plausible inference of deliberate indifference,” regardless of whether

liability was found. Case v. City of N.Y., 233 F. Supp. 3d 372, 406 (S.D.N.Y. 2017) (quotation

marks omitted); accord, e.g., Osterhoudt v. City of N.Y., 2012 WL 4481927, at *1-2 (E.D.N.Y.

Sept 27, 2012) (rejecting City’s argument that prior filed lawsuits do not support a Monell claim

regarding unconstitutional protest policing); McCants v. City of Newburgh, 2014 WL 6645987, at

*4 (S.D.N.Y. Nov. 21, 2014) (finding notice to City sufficient for Monell claim based on seventeen

prior filed lawsuits, even though “a majority of the claims were settled for nuisance value”). 10

       Rather than addressing their undisputed knowledge of the long history of policing

misconduct at major protests, defendants insist that they could not know they would confront major

protests “in the middle of a pandemic.” Mem. 20. But whether defendants knew they would

confront such protests in a pandemic is beside the point. Defendants undisputedly knew they would

confront major protests at some time—yet they wholly failed to train or prepare for that eventuality,

despite officers’ repeated misconduct at one major protest after another. See Felix, 344 F. Supp.


10
  Defendants are likewise wrong to discount, Mem. 14-15, prior reports of misconduct as support
for a Monell claim at the pleading stage. Davis v. City of N.Y., 2018 WL 10070540 (S.D.N.Y.
Mar. 30, 2018), on which defendants rely, was a summary-judgment decision. See Lynch v. City
of N.Y., 952 F.3d 67, 81-82 (2d Cir. 2020) (reversing dismissal of Monell claim because
defendants’ reliance on summary-judgment decisions is “inapt” at pleading stage). The only
motion-to-dismiss case defendants cite involved mere “boilerplate allegations” based on stale
reports “all unrelated” to the case at hand—unlike the highly probative DOI, Corporation Counsel,
and other reports, and supporting CCRB complaints and lawsuits, described in the complaints here.
Aguirre v. City of N.Y., 2017 WL 4236552, at *4-6 (E.D.N.Y. Sep. 22, 2017).

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3d at 662 (past lawsuits and media reports on policing failures “plausibly supported the existence

of a training deficiency and the City’s awareness of the same,” despite differences in “precise

factual circumstances” of current lawsuit).

       The complaints’ ample allegations of the supervisory defendants’ real-time notice as the

protests unfolded, e.g., supra at 15, also separately supports a Monell claim for failure to supervise.

In Amnesty America v. Town of West Hartford, 361 F.3d 113, 127-29 (2d Cir. 2004), the Second

Circuit upheld a Monell failure-to-supervise claim on analogous facts, where “plaintiffs’ evidence

would allow a reasonable factfinder to conclude that violence did not occur as an isolated

instance,” but rather “permeated the entire arrest scene” at two successive demonstrations, and the

police chief knew about the excessive force used and failed to intervene. Id. at 128. 11

                       Plaintiffs Plausibly Plead That NYPD Policymakers Ratified Unlawful
                      Protest Policing Practices.

       Plaintiffs also sufficiently plead that Mayor de Blasio, Commissioner Shea, and Chief

Monahan, who are undisputedly policymakers for Monell purposes, 12 adopted as city policy

unlawful protest policing practices such as kettling. As defendants acknowledge, Mem. 13-14,

plaintiffs need not allege a formal, written policy to assert a policy-based Monell claim. Rather,



11
  Defendants’ further argument that plaintiffs have not stated a claim for failure to train regarding
“Covid-19 Protocols; the Curfew Order; or Covering Badges,” Mem. 21, is a straw man: plaintiffs
make no standalone claims of unlawful failures to train on these subjects. Insofar as failures to
address these matters in training are discussed in the complaints, they are mere examples of the
ramifications of defendants’ larger failure to provide any training for policing at protests.
12
  Defendants do not contend that the supervisory defendants are not policymakers, and thus waive
any such argument. And for good reason: the City Charter establishes the Mayor and the
Commissioner’s authority to set policy with respect to the NYPD, and Chief Monahan, as the
highest ranking uniformed officer, “oversees and supervises all NYPD operations, including patrol
operations, and is responsible for developing and implementing policies for the NYPD.” Sierra
¶¶ 37-38; see also, e.g., Domenech v. City of N.Y., 919 F. Supp. 702, 710 n.1 (S.D.N.Y. 1996)
(Commissioner is final policymaker regarding “government, administration, disposition, and
discipline” of NYPD).
                                                  20
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plaintiffs need only allege “actions taken by government officials responsible for establishing the

municipal policies that caused the particular deprivation in question.” Kucharczyk, 95 F. Supp. 3d

at 538 (quotation marks omitted). Under this standard, either a policymaker’s own action or a

subordinate’s action “that a policymaker ordered or ratified” or “consciously chose to ignore”

“implicate[s] the municipality in the constitutional deprivation.” Amnesty Am., 361 F.3d at 126.

        Here, plaintiffs allege that de Blasio, Shea, and Monahan directed NYPD officers’ use of

kettling to corral and trap the participants in various peaceful assemblies without individualized

probable cause, and ratified that practice by praising its use. People ¶¶ 443, 445; see id. ¶¶ 4, 328,

330-87, 445; Payne ¶¶ 2, 73, 215-16; Sierra ¶¶ 2, 3, 7; Wood ¶ 44. Specifically, de Blasio

acknowledged his role in setting strategies at the protests and stated that the use of kettling at the

protests was justified; Shea praised the execution of kettling at the June 4 Mott Haven protest as

“nearly flawless[]”; and Monahan personally oversaw the Mott Haven kettling, notwithstanding

that he had previously been found liable for punitive damages for similar tactics in responding to

another protest several years ago. See People ¶¶ 4, 8, 27-28, 101, 200, 293, 329, 387; Payne ¶¶ 66-

69, 73; Sierra ¶¶ 2, 3, 7, 9, 132; Wood ¶ 7. Plaintiffs also allege that the policymakers ratified other

police misconduct by publicly defending it during the protests. See, e.g., Sierra ¶¶ 128, 131-132;

Payne ¶¶ 46, 48-50, 56, 73, 80; People ¶¶ 29, 102-03; Wood ¶¶ 92-96. Such allegations plainly

state a Monell claim. See, e.g., Batista v. Rodriguez, 702 F.2d 393, 397 (2d Cir.1983) (“repeatedly

condon[ing] and even reward[ing]” allegedly unlawful police conduct states Monell policy);

McLennon v. City of N.Y., 171 F. Supp. 3d 69, 97 (E.D.N.Y. 2016) (“[A] policymaker’s implicit

ratification may be established by his or her reward or encouragement of the unlawful conduct.”). 13



13
 There is no merit to defendants’ argument that “[c]ertain Monell claims [in Sierra and Yates]
must be dismissed as boilerplate.” Mem. 22 (citing Dwares v. City of N.Y., 985 F.2d 94, 100 (2d


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           B. Plaintiffs Plausibly Plead That the Supervisory Defendants Violated the
              Constitution by Their Own Conduct.

       Plaintiffs state cognizable claims against Mayor de Blasio, Commissioner Shea, and Chief

Monahan by alleging facts supporting a plausible inference that they personally approved use of

unreasonable force against protesters and the mass arrest of peaceful protesters without probable

cause. Plaintiffs also state claims against de Blasio, Shea, and Monahan by alleging facts

supporting a plausible inference that the unreasonable force and unlawful arrests they approved

suppressed protected First Amendment activity and that they approved these actions in substantial

part because they loathed the protesters’ political message.

       For instance, in his own words, de Blasio “approved the broad strategies and sometimes

very specific choices” of tactics the NYPD adopted in the early June 2020 protests, including the

use of batons and pushing protesters. E.g., People ¶ 101; Sierra ¶ 3. Shea said NYPD’s response

to protests at Mott Haven on June 4 was an organized “operation,” “executed nearly flawlessly.”

De Blasio deployed “observers from City Hall” to monitor it, demonstrating his advance

knowledge of and participation in planning the NYPD response. Payne ¶ 69. Monahan personally

led the NYPD’s Mott Haven response and directed the kettling, assault, and arrest of protesters,

People ¶¶ 292-96; Sierra ¶ 46; Wood ¶¶ 124-26, and he personally approved the mass use of pepper

spray against protesters at the Barclays Center on May 29, 2020, People ¶ 200. That Monahan



Cir. 1993). “[T]o the extent that Dwares called for a heightened pleading standard for Monell
claims, it was overruled by Leatherman v. Tarrant County Narcotics Intelligence & Coordination
Unit, 507 U.S. 163, 168-69 (1993), in which the Supreme Court squarely held that Rule 8(a)(2),
and not a more rigorous pleading standard, applies to Monell claims.” Guzman v. United States,
2013 WL 543343, at *12 (S.D.N.Y. Feb. 14, 2013). Sierra’s 168 paragraphs of detailed factual
allegations and Yates’s many factual allegations satisfy Rule 8, and defendants make no argument
whatsoever concerning alleged deficiencies in these claims. Should the Court find either
complaint’s Monell claim deficient, the plaintiffs seek leave to amend. Indeed, Yates had no prior
opportunity to amend his complaint because his case was consolidated with the other cases after
this Court’s deadline for amended pleadings had passed.
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would illegally order mass arrests without probable cause is especially plausible since he has done

so before, resulting in a finding of liability and punitive damages. People ¶¶ 27-30; Sierra ¶ 127.

       Such examples are more than sufficient to state a claim. It is decidedly not the law that a

defendant must throw the punch, wield the baton, or apply the handcuffs to violate a plaintiff’s

constitutional rights. Municipal officials, supervisory or otherwise, are liable for their own actions

(or inactions) that proximately cause other officials to physically carry out constitutional

violations. See, e.g., Terebesi v. Torreso, 764 F.3d 217, 233-35 (2d Cir. 2014) (denying qualified

immunity to defendants who devised deficient tactics, foreseeably resulting in use of excessive

force in executing warrant); Figuero v. Mazza, 825 F.3d 89, 106-07 (2d Cir. 2016) (liability for

failure to intervene). Tangreti v. Bachmann, 983 F.3d 609 (2d Cir. 2020), cited by defendants,

Mem. 22-23, has no impact on this case. Tangreti involved Eighth Amendment deliberate-

indifference claims, which require the defendants to have actual knowledge of and consciously

disregard an excessive risk to health or safety. See 983 F.3d at 618-19. The court held that the

Tangreti plaintiff could not rely on “special rules” to escape the otherwise applicable mens rea

requirement and had to plausibly allege that the defendant prison supervisors were subjectively

deliberately indifferent. Id. at 612. Plaintiffs here are not invoking any “special rule” of supervisor

liability, but merely seeking to hold the supervisory defendants liable for their own acts.

           C. Injunctive Claims Against Supervisory Officials Are Proper.

       The supervisory defendants cite no authority for the proposition that injunctive claims

cannot proceed against them in their individual capacities. Mem. 22. Public officials in their

individual capacities are just like any other person subject to the Court’s Article III remedial power.

Plaintiffs state individual-capacity claims against the supervisory defendants, and the plaintiffs

pursuing injunctive relief have standing to obtain it. See supra at 6-11, 22-23. Nothing prevents



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the Court from crafting appropriate injunctive relief against the supervisory defendants to remedy

their ongoing personal violations of the Constitution. Nor is there anything particularly remarkable

about such relief. See, e.g., Dudek v. Nassau Cnty. Sheriff’s Dep’t, 991 F. Supp. 2d 402, 413-14,

422 (E.D.N.Y. 2014) (denying motion to dismiss such claims against sheriff in personal capacity).

           D. Defendants Have Not Raised, and Have Therefore Waived, Any Rule
              12(b)(6) Challenge to Plaintiffs’ Remaining Claims.

       Defendants also have failed to set forth any arguments challenging the sufficiency of

plaintiffs’ allegations supporting many of the claims for relief asserted in the complaints, including

all claims brought under the New York State Constitution and state common law. See People

¶¶ 461-95; Payne ¶¶ 230-31, 233-34, 236-37; Sierra ¶¶ 195-222; Wood ¶¶ 232-43; Yates ¶¶ 33-

36. 14 Defendants have therefore waived these arguments, and defendants may not raise new

arguments seeking dismissal of these claims for the first time in their reply brief. See, e.g., Order

¶ 6 (ECF 40); Tardif v. City of N.Y., 991 F.3d 394, 404 n.7 (2d Cir. 2021).

III.   Defendants Are Not Shielded by Qualified Immunity.

       Defendants are not shielded from liability by qualified immunity. Defendants acknowledge

that “[q]ualified immunity is not a shield that the municipality enjoys,” Mem. 24 n.29, and assert

a limited qualified-immunity defense only on behalf of the supervisory defendants: de Blasio,

Shea, and Monahan, Mem. 23. Defendants also assert qualified immunity only for money-damages

claims, Mem. 23, because it is well settled that qualified immunity “does not bar actions for

declaratory or injunctive relief,” Adler v. Pataki, 185 F.3d 35, 48 (2d Cir. 1999).


14
   Monell’s policy or custom limitation on municipal liability does not apply to claims under the
state constitution. Rather, under state law, localities may be “vicariously liable for constitutional
torts by [their] officers or employees.” E.g., Brown v. State, 89 N.Y.2d 172, 193-94 (1996). And
such constitutional torts by individual NYPD officers are undisputed here. See, e.g., Mem. 17-18
(acknowledging at least some officers used excessive force against protesters and have been
subject to discipline or criminal prosecution).

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       Insofar as defendants assert qualified immunity, they do so solely with respect to a non-

existent challenge to de Blasio’s Executive Order No. 117, which established a curfew for the night

of June 1, 2020, and Shea and Monahan’s willingness to enforce the curfew. See Mem. 24. None

of the complaints allege that issuing the curfew order, or enforcing it, was unlawful. Rather,

plaintiffs allege that defendants used unlawful protest policing tactics, such as excessive force and

kettling, while purporting to enforce the curfew. See People ¶¶ 55, 58, 238-387; Payne ¶¶ 52, 56,

59; Sierra ¶¶ 55-123; Wood ¶¶ 116-67. Indeed, plaintiffs also allege that defendants used the same

unlawful tactics at protests before and long after any curfew was in place—underscoring the

irrelevance of the curfew to the allegations. See, e.g., People ¶¶ 128-398; Payne ¶¶ 107-211; Sierra

¶¶ 140-68; Wood ¶¶ 43-78.

       Defendants do not contend that de Blasio, Shea, and Monahan are protected by qualified

immunity for the unlawful policing tactics they oversaw. Nor could they at this stage of the

litigation. “It is generally premature to address the defense of qualified immunity in a motion to

dismiss pursuant to [Rule] 12(b)(6).” Perez v. Westchester County Dep’t of Corr., 2007 WL

1288579, at *6 (S.D.N.Y. Apr. 30, 2007) (quotation marks omitted). That is because “[a] defendant

presenting an immunity defense on a motion to dismiss must … show not only that the facts

supporting the defense appear on the face of the complaint, but also that it appears beyond doubt

that the plaintiff can prove no set of facts in support of his claim that would entitle him to relief.”

Brown v. Halpin, 885 F.3d 111, 117 (2d Cir. 2018) (quotation marks omitted). Defendants have

done neither with respect to any claim plaintiffs actually assert.

                                          CONCLUSION

       For all these reasons, the Court should deny defendants’ motion to dismiss.




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Dated: April 23, 2021                          Respectfully submitted,

                                               LETITIA JAMES
                                               Attorney General of the State of New York

                                               By: /s/ Philip J. Levitz

 Anisha S. Dasgupta                            Jessica Clarke, Chief of Civil Rights Bureau
  Deputy Solicitor General                     Lillian Marquez, Assistant Attorney General
 Philip J. Levitz                              Swati Prakash, Assistant Attorney General
  Assistant Solicitor General                  Travis England, Assistant Attorney General
                                               Jaclyn Grodin, Assistant Attorney General
                                               Gregory Morril, Assistant Attorney General
                                               Office of the New York State Attorney General
                                               28 Liberty Street
                                               New York, NY 10005
                                               (212) 416-6325
                                               philip.levitz@ag.ny.gov

Counsel for Plaintiff in People of the State of New York v. City of New York, No. 21-cv-322


NEW YORK CIVIL LIBERTIES UNION FOUNDATION

/s/ Molly Biklen
Molly Biklen
Jessica Perry
Daniel R. Lambright
Robert Hodgson
Lisa Laplace
Christopher T. Dunn
125 Broad Street, 19th Floor
New York, NY 10004
(212) 607-3300
mbiklen@nyclu.org

Co-Counsel for Plaintiffs in Payne v. De Blasio, No. 20-cv-8924


THE LEGAL AID SOCIETY

/s/ Corey Stoughton
Corey Stoughton
Jennvine Wong
199 Water Street
New York, NY 10038

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(212) 577-3367
cstoughton@legal-aid.org

Co-Counsel for Plaintiffs in Payne v. De Blasio, No. 20-cv-8924


HAMILTON CLARKE LLP

/s/ Lance A. Clarke
Lance A. Clarke, Esq.
Jason Clark, Esq.
William Guilford, Esq.
48 Wall Street, Suite 1100
New York, NY 10005
(212) 729-0952
lc@hamiltonclarkellp.com

Co-Counsel for Plaintiffs in Sierra et al v. City of New York, No. 20-cv-10291


THE LAW OFFICE OF JOSHUA MOSKOVITZ, P.C.

/s/ Joshua S. Moskovitz
Joshua S. Moskovitz, Esq.
14 Wall Street, Suite 1603
New York, NY 10005
(212) 380-7040
josh@moskovitzlaw.com

Co-Counsel for Plaintiffs in Sierra et al v. City of New York, No. 20-cv-10291


THE LAW OFFICE OF MICHAEL L. SPIEGEL

/s/ Michael L. Spiegel
Michael L. Spiegel, Esq.
48 Wall Street, Suite 1100
New York, New York 10005
(212) 587-8558
mikespieg@aol.com

Co-Counsel for Plaintiffs in Sierra et al v. City of New York, No. 20-cv-10291




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KAUFMAN LIEB LEBOWITZ & FRICK LLP

/s/ Douglas E. Lieb
Douglas E. Lieb
10 East 40th Street, Suite 3307
New York, NY 10016
(212) 660-2332
dlieb@kllf-law.com

Counsel for Plaintiff in Wood v. de Blasio, et al, No. 20-cv-10541


STOLL, GLICKMAN & BELLINA, LLP

/s/ Andrew B. Stoll
Andrew B. Stoll
300 Cadman Plaza West, 12th Floor
Brooklyn, NY 11201
(718) 852-3710
astoll@stollglickman.com

Counsel for Plaintiff in Yates v. New York City, No. 21-cv-1904




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